

Matter of Gross (2020 NY Slip Op 04227)





Matter of Gross


2020 NY Slip Op 04227


Decided on July 23, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: July 23, 2020

PM-95-20

[*1]In the Matter of Gregory A. Gross, an Attorney. (Attorney Registration No. 4616090.)

Calendar Date: July 20, 2020

Before: Garry, P.J., Lynch, Devine, Aarons and Pritzker, JJ.


Gregory A. Gross, Sewickley, Pennsylvania, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Gregory A. Gross was admitted to practice by this Court in 2008 and lists a business address in Pittsburgh, Pennsylvania with the Office of Court Administration. Gross now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Gross's application.
Upon reading Gross' affidavit sworn to June 1, 2020 and filed June 3, 2020, and upon reading the July 2, 2020 correspondence in response by the Chief Attorney for AGC, and having determined that Gross is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Lynch, Devine, Aarons and Pritzker, JJ., concur.
ORDERED that Gregory A. Gross' application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Gregory A. Gross' name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Gregory A. Gross is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Gross is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Gregory A. Gross shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








